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Case 1:19-cv-06434-GHW Document1 Filed 05/28/19 Page 7 of 25

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Case 1:19-cv-06434-G

Khadijah Sharif-Drinkard
Vice President & Associate Genera! Counce:
Business & Leas! Affairs

May 20, 2015

VIA ELECTRONIC MAIL &
OVERNIGHT MAIL

Kimberly Brown
1524 Beacon Ridge Road. Apt= 81°
Charlotte, NC 28210

Re. “RUN THIS TOWN”
(the “Program”)

Dear Kimberls ;
Reterence 's ace to the Agi een:

Productions IV, LLC (“Produc
connection with Prodi ers optic

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Stephen Hil!
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Melissa Lintinger

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(previously known as “Lone Live the Kings”)

 

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Gmail - Fwd; FW: NBA Attorney Info,

arene Case 1:19-cv-06434-GHW Document 1 Filed 05/28/19 Page 9 of 25

[7 Gmail

 

<

’ Kimberly Brown <mskimberlybbrown@gmail.com>

 

Fwd: FW: NBA Attorney Info

2 messages

 

Kerri C, Taitt-HHoag <kemi@bobroblaw.com>

Tue, Mar 14, 2017 at 8:52 PM

To: Kimberly Brown <MsKimberlyBBrown@gmail.com>

 

Forwarded Message
SubJect:FW: NBA Attomey Info
Date:Tue, 14 Mar 2017 17:40:20 -0700
From :lbobbitt@bobroblaw.com
To:KERRI <kemi@bobroblaw.com>

 

Kem:

LB

Sent from Mail for Windows 10

 
  
   

  

From: |bobbitt@bobroblaw.com

‘( Sent: Tuesday, January 17, 2017 12: 07 PM
To: Kimberly

Subject: RE: NBA Attomey Info

Kimberly:

9) Here is a copy of the email | sent to Kimberly.

—

Z09} rod dike F .codack

acckomney Pir. Bobbebt

Drive , Secaucus , NJ 07094, Phone : 1+201- 974 -6797

) The attomey | spoke to was: Britton Sellers ,Asst. VP — Legal & Business Affairs / NBA Properties, Inc, 100 Plaza

Fax: 14+ 201 - 974 -6159

Sent from Mail for Windows 10

me

MY

 

From: Kimberly B. Brown
Sent: Monday, January 16, 2017 10:16 PM
To: Leray Bobbitt

ay Subject: NBA Attomey Info

Hello Mr. Bobbitt,

httre mail ananio comin ail Hn Ril DRARARATINR iow ntReparchzinhow2th= (hacfTOIANAdnGle nimat 1 BonfPiaMhadeRiReim

  

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16/2017 —& sub F cv

When you have a moment, may | please have the contact information for the NBA attomey?

434-GHW Document1 Filed 05/28/19 Page 10 of 25
Gmail. Ewd: PWHNBAAttorirey

  
  
  

  
 
  
 
 
 

This woman is still stalking me and the harassment has to stop. It's completely sickening that a franchise such as the
NBA do absolutely NOTHING about their athletes malicious behavior.

|'m seeking another attorney and get this handled so that is why I'm requesting the NBA attomey information

Thank You, Abte: Lf Ko. weld ry

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CCAGS SIONS an Ms.\¥

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Kimberly Brown ah NO. the behwwrec Cael other wordss.
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Kimberly Brown <mskimberlybbrown@gmail.com> Thu, Mar 16, 2017 at 2:26 PM
To: “Kemi C, Taitt-Hoag" <kem@bobroblaw.com>

Hi Kerri, a
}) Thank you so much! Do you have a email address for Britton Sellers?
if net, no worries.
Thank You,

Kimberly Brown
[Quoted text hidden]

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Case 1:19-cv-06434-GHW Document1 Filed 05/28/19 Page 11 of 25

5/20/2019 Gmail - Fwd. RE: Kimberly Brown
i . | Grnail Tiffany Tiffany <tiffany.tiffany551@gmail.com>

Fwd: RE: Kimberly Brown
1 message

Ms KBB <ms.kbb@aol.com> Mon, May 20, 2019 at 2:26 PM
To: tiffany.tiffany551@gmail.com

~~—-Original Message-—-

From: Ms KBB <ms.kbb@aol.com>

To: jmargolies <jmargolies@margolies.org>
Sent: Mon, Oct 22, 2018 08:23 AM
Subject: RE: Kimberly Brown

Good morning -
This email is a follow up regarding my previous email. Are you available to speak sometime this week?
Thank You,

Kimberly Brown

On Wednesday, October 17, 2018 Ms KBB <ms.kbb@aocl.com> wrote:
Good moming Julie -

Please know that | am aware email is not the best form of communication, but request if you may please contact Adam
Silver, Commissioner - NBA to request a mediation?

Julie, | was raised in a foundation built on integrity, respect and character, regardless of ones wealth. Recently, | have
struggled to regain stability throughout my life and career.

The NBA was the last organization in which I had any professional dealings with, therefore as a professional, | would like
to address any concerms which could have affected either of our brands.

As a woman who worked very hard to establish your practice, | hope you understand my position. This support would be
most appreciated.

Thank You,
Kimberly B. Brown

Contact info:
https ://www, bloomberg.com/research/stocks/private/pers on.asp?personid=5524937 & privcapid= 165301

Email: ASilver@nba.com

On Wednesday, September 5, 2018 Julie Kowitz Margolies <jmargolies@margolies.org> wrote:

Kimberly:

https ./mail.g oogle.com/mail/u/07ik=593a0783b98v ew= pt&search= all &permthid= thread-f%3A 1634076492257702223&simpl=msg-f%3A 1634076492257702223 V3

 
Case 1:19-cv-06434-GHW Document1 Filed 05/28/19 Page 12 of 25

5/20/2019 Gmail - Fwd: RE. Kimberly Brown

Thank you for the update. As | mentioned in our call, mediation is a voluntary process, which means all parties need to
agree to mediate. As we also discussed, were | to approach Ms. Young or her publicist on your behalf, | would potentially
compromise my neutrality. However, If she is interested in mediating, I'm happy to speak to her or to whomever else she
designates about mediation. Please let me know when and if you get a response from Ms. Clark.

Best,

Julie

om

Julie Kowitz Margolies
Principal
(917) 519-7144

w w w.kow itzmargolies.com

From: Ms KBB <ms.kbb@aol.com>

Sent: Tuesday, Seotember 4, 2018 6:31 PM

To: Julie Kowitz Margolies <jmargolies@margolies.org>
Subject: Kimberly Brown/Tamera Young

Good evening Julie -

| just wanted to update you that | followed up with the attorney Amanda Clark for Tamera Young. Amanda was in court,
but I left a message. Also, | wanted to share with you two additional contacts which is the website for Ms. Young and her
publicist listed online:

Website: https://tyoungone.com/

And

Publicist: LaTonya@Lpconsuitingpr.com
Would you mind reaching out please?

Julie, what is most disheartening about the situation is that | endured a series of events, unbeknownst, which directly
affected my life. However, it is essential to began with the source.

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Case 1:19-cv-06434-GHW Document1 Filed 05/28/19 Page 13 of 25

5/20/2019 Gmail - Fwd RE. Kimberly Brown
Mediation is to resolve this productively, and positively.

Thank you.

Kimberly Brown

https //mail.google.convmail/u/07ik=593a0783b98view= pt&search=all &per mthid= thread-f%3A1634076492257702223&simpl=msg -f%3A1634076492257702223 3/3

 
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VS -

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7-1-3132 - 19

Friday, June 16" 2017
Filed In Office Jul-14-2017 13:09:20

dort ~ Ternerer Young

Superior Court for the County of Cobb, State of Georgia Tp] zai 7—un9F666S-CY

32 Waddell Street

Marietta, GA 30090

Page 1

   

Rebecca Keaton
Clerk of Superior Court Cobb County

Attn: G. Conley Ingram — Senior Superior Court Judge

Joyette Holmes — Assisting Superior Court Judge

Moton

 

|, Kimberly Bernice Brown, request a motion to reconsider the denial of a permanent protective

order to lawfully protect my life from Tamera Yvonne Young in civil action file number 17-1-.

3732-99. As a law abiding and productive citizen in the United Statés of America, | humbly ask

to appear before the court for reconsideration in the decision pronounced by Judge, Joyette
Holmes on Tuesday, June 13" 2017.

| do believe in my heart justice was not properly served and my safety remains at

insurmountable risk for severe harm as well as the privacy of my family is still considerably

violated in an illegal manner. | ask that you please review the reasons below listed for a request
for reconsideration:

1.)

2.)

Respondent (Tamera Yvonne Young) violated the initial TPO order on May 27" 2017
when the Respondent contacted a family member in Cobb County after being served
and knowingly aware all communication to cease directly and indirectly. Respondent
continued to communicate with my family member Dwayne Newby and/or his wife
Patricia Newby. It is to my strongest belief with probable cause that the respondent
bribed and/or intimidated the above mentioned family member in an unjust attempt to
prevent family member from speaking on my behalf against the Respondent.
Furthermore, the violation was not enforced and Respondent was never reprimanded
by law enforcement officials.

i, Kimberly Bernice Brown, never received nor was served the cross-petition filing by the
Respondent, Tamera Yvonne Young, and was completely unaware of these allegations
prior to appearing before the judge on June 13" 2017. Allegedly, as stated by the
Respondent’s attorney in court, the temporary protective order was sent via certified
mail to 5274 Miranda Way Powder Springs, GA 30127 - which is the same address of m
family member, Dwayne Newby, whom the Respondent has been in contact with via

   
     
 

  

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cellular devices. Furthermore, | was not given prior notice that | was going to have t
defend myself against Respondent allegations.
Case 1:19-cv-06434-GHW Document1 Filed 05/28/19 Page 15 of 25

3.) Respondent attempt to provide evidence with allegations against me also proved to be
evidence against Respondent in relation to my petition which states that | have
probable cause to believe that the respondent has illegally placed tracking and
“snooping” applications on my previous cellular devices to solicit personal information
and correspondence in malicious attempts to defame my character as well as place me
in very much so reasonable fear for my life.

|, Kimberly Bernice Brown, can attest that all of the above statements are true and | ask
that you please see the attached documentations for further evidence.

Over the past six months | have lived in three different states, staying with several
family members and now a “safe house” for domestic violence and stalking victims in an
attempt to flee from the cruel and aggressive behavior ensued by Respondent, Tamera
Yvonne Young. | ask that it is placed to the highest regard of reconsideration that my
plea is heard once more as my life depends on it.

 

Imberly Bernice Brown

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Filed In Office May-17-2017 15243333
IDs 2017-0068 365S-CV
Pase f
THE SUPERIOR COURT FOR THE COUNTY ff
Rebecca Keoton
STATE OF GEORGIA Clerk of Superior Court Cobb County
KIMBERLY BROWN ]
Petitioner, j
] Civil Action File
Vv. ] No.
]
TAMERA YOUNG ] fe 1I-
Respondent. J (1 | $1 1 ’

STALKING EX PARTE TEMPORARY PROTECTIVE ORDER

Upon proceedings before me, the Petitioner having demanded pursuant to O.C.G.A. '§ 16-5-94 that
a Protective Order be issued; and alleged that Respondent has knowingly and willfully committed or
attempted to commit acts in violation of O.C.G.A. §§ 16-5-90 ef seg., and such acts were not at the home
_ of the Respondent, had no legitimate purpose and that Petitioner is in reasonable fear of her/his safety and/or
the safety of her/his immediate family; and it appearing to the Court that probable cause exists to believe.
that similar events will occur in the future, IT IS HEREBY ORDERED AND ADJUDGED:

1, Pe a That Respondent is enjoined and restrained from any acts directly or indirectly
which harass and/or intimidate the Petitioner or her/his immediate family.

2. PO of That Respondent is enjoined from approaching within 500 yards of
"Petitioner, KIMBERLY BROWN, and Petitioner’s residence.

3, 005° That Respondent have no contact of any type, direct or indirect, or through
another person with Petitioner, or her immediate family, including but not
limited to telephone, pager, fax, e-mail, mail or any other means of
communication.

 

 

4, That the Respondent appear before the presiding Judge, on the | IsPaay
of Jua€ 2017 at 9:00am in room N of the Cobb County court house at 32
Waddell Street Marietta, Ga 30090 to show why the demands of the
Petitioner should not be granted.

 

 

 

5. That a copy of this Order be given to local law enforcement and the
Respondent be served with a copy of this Order and Petition for Stalking
Temporary Protective Order instanter.

 

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Ips 201 7-GOS8363-CV
Page 2

6. That this Order applies in every county throughout the state and it shall be the duty
of every court and every law enforcement official to enforce and carry out the
provisions of this Order pursuant to O.C.G.A. §§ 16-5-94(e) and 19-13-4(d). Law
Enforcement may use their arrest powers pursuant to 0.C.G.A. §§ 16-5-9] and 17-
4-20 to enforce the terms of this Order.

7. That these proceedings be filed in the office of the Clerk of this Court.

8. That this Court determined that it had jurisdiction over the parties and the subject
mnatter under the laws of the State of Georgia and the Court ordered that the
Respondent be given reasonable notice and opportunity to be heard sufficient to
protect the Respondent’s due process rights and this Order shall be presumed valid
and pursuant to 18 U.S.C. § 2265(a) shall be accorded full faith and credit by any
other state or local jurisdiction and shall be enforced as if an Order of the enforcing
state or jurisdiction.

SO ORDERED this / day of 12017.

     

 

XOGE, SUPERIOR COURT
COBB County

B.CONLEY INGRAM
Print or stamp Judge’s namefgyion JUDGE, STATE OF GEORGA
PAESIDING IN COBB JUDICIAL CIRCUIT

Violation of the above Order may be punishable by arrest.

 

Note to Judges: This form is promulgated as a Uniform Superior Court Rule under the auspices of
O.C.G.A. § 19-13-53. To order a specific provision, please initial in the space provided. The court ,
should delete or otherwise make inoperative any provision in the standardized form which is not
supported by the evidence in the case and in order to comply with the court’s application of the law and
facts to an individual case.

 

 

 

 

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Case 1:19-cv-06434-GHW Document1 Filed 05/28/19 Page 18 of 25

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Coehbeaccs Heaton

STATE OF GEORGIA clerk of Superror Court Cobb foures

KIMBERLY BROWN

Petitioner,
Civil Action File
No.

[9-3 132-44

PETITION FOR STALKING TEMPORARY PROTECTIVE ORDER

Vv.

TAMERA YOUNG
Respondent.

Nand bed ee ee ee et

The Petitioner, pursuant to O.C.G.A. § 16-5-94, hereby files this Petition for a Stalking
Temporary Protective Order and in support shows the Court the following:

l. The Petitioner is a resident of Cobb County, Georgia and is over the age of 18 years
of age. Petitioner’s year of birth is 1980, sex female.

2. The Respondent is a resident of Cobb County, Georgia may be served at her
residence of 2212 Knoxhill View, Smyrna, GA, 30082.

3. Between January 2017 and May I1, 2017 the Respondent has knowingly and
willfully committed the following acts of stalking under O.C.G.A. §§ 16-5-90 et
seq.: Respondent is a former associate of Petitioner's, but for some reason
Respondent assumes that they are in a relationship. In December 2016 Petitioner’s
attorney sent Respondent a cease and desist letter. For a short period of time,
Respondent’s employment sent her overseas so Petitioner assumed the contact
would stop, but Respondent returned and between January 2017 and April 2017
while Petitioner was living in Charlotte, North Carolina Respondent would use her
vehicle to follow Petitioner. On one occasion Respondent entered a public library
where Petitioner was located and “lurked” nearby. On another occasion,
Respondent was seen sitting in her car outside of a bus terminal where Petitioner
was arriving. In March 2017 while Petitioner was visiting her brother in Maryland,
Respondent was seen near the residence. Recently, Petitioner moved to Gcorgia,
and again on May 11, 2017 Petitioner saw Respondent following her once again.
Petitioner believes Respondent has a tracking device on her phone and that she
follows her ona regular basis. Petitioner has called the police on multiple occasions
after seeing Respondent’s vehicle siting outside of her residence. Respondent calls
Petitioner’s telephone on a weekly basis in a “pranking” manner. Petitioner is very
concerned by the constant contacts and threats. These acts had no legitimate
purposes, happened at places other than the residence of the Respondent. were
without the consent of the Petitioner. and placed Petitioncieitaeeofreitewfoarchesons 7008

TRUE, CORRECT AND COMPLETE COPY OF THE
her own safety and/or the safety of her immediate family. ORIGINAL THAT APPEARS ON RECORD.

IGOR COURT

ER
COBB COUNTY, GEORGIA

CLERK SUP

       

DEPUTY CLERK, CI COUNTY COURT
COBB COUNTY, GEORGIA
Case 1:19-cv-06434-GHW Document1 Filed 05/28/19 Page 19 of 25
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THEREFORE, Petitioner requests:

(a) That the Court set a hearing within thirty (30) days of the signing of the Order and
to direct Respondent to appear before this Court and to show any reasons why the
demands of the Petitioner should not be granted;

(b) That the Respondent be served a copy of this Petition and Ex Parte Protective Order
as required by law;

(c) | Order law enforcement to enforce the order;

(d) That this Court issue a twelve month protective order to:

order Respondent to stop harassing and intimidating Petitioner and her
X immediate family;

order Respondent not have any direct or indirect contact with the petitioner and
X her immediate family;

order Respondent be enjoined from approaching within 500 yards of Petitioner
Xx and Petitioner's residence;.

order Respondent refrain from the conduct toward the Petitioner as stated in this
Xx Petition;
X order Respondent to receive appropriate psychiatric or psychological services;

award the Petitioner costs and attorney fees for having to bring this action.

 

 

 

 

Respectfully submitted,

Hiinboly 8. Avorn

Petitioner //

Address: 5274 Miranda Way
Powder Springs, GA 30127
Phone: 240-786-2993

 
Case 1:19-cv-06434-GHW Document1 Filed 05/28/19 Page 20 of 25

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Faas &

THE SUPERIOR COURT FOR THE COUNTY OF COBB

STATE OF GEORGIA

KIMBERLY BROWN ]
Petitioner, |

J Civil Action File

Vv. J No.
]
TAMERA YOUNG |
Respondent. |
VERIFICATION

Personally appeared KIMBERLY BROWN, who being duly swom states that she
is the Petitioner in the above styled case and that the facts set forth in the foregoing Petition for
Stalking Temporary Protective Order are true and correct.

i4/- ;
Kinbyly $B Ospur~
Petitioner V

Sworn and subscribed before

me this 17th day of May, 2017.
Nlecke oft

NOTARY PUBLIC

My commission expires:

 

    

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Notary Public, Georgia
Cc BB COUNT Pires g
mission ! g
My cogpt 8 2018 gd

      
    

 
6/14/2017 Case ‘hip On Dacementelier HEA 05/28/19 Page 21 of 25

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Complaint Referral Form
Internet Crime Complaint Center

  

 

Victim Information

 

 

 

 

Name:

Business Name:
Age:

Address:

Address (continued):
Suite/Apt./Mail Stop:
City:

County:

Country:

State:

Zip Code/Route:
Phone Number:
Email Address:

Kimberly B, Brown
Kimberly B. Brown
30 - 39

P.O. Box 1875

Winder
Barrow

United States of America ©

Georgia

30680

7703073633
csmith@peaceplace.org

Business IT POC, if applicable:
Other Business POC, if applicable:

 

 

 

— Description of Incident

 

 

 

Provide a description of the incident and how you were victimized. Provide information not captured elsewhere in
this complaint form.

My name is Kimberly B. Brown; a professional writer and credible producer, In 2016, I was in a business
relationship with the National Basketball Association (NBA)for a television project. At the time of this potential
partnership, one of the talent I cast illegally gained access to my email accounts and cellular phone devices
tracking my daily communications and correspondence. I was not aware of this illegal activity until there became
a constant need for creating new email accounts because of the hackers. It wasn’t until recently that I've been
able to provide evidence for my case. I am the victim of domestic violence, stalking and I am currently staying
at a safe house to avoid any harm or danger. The individual hacked into my newly created email account recently
while here at the shelter and the computer at this location is now hacked too. I have the screenshots saved, in
addition to the equipment which the director has approved for any faw enforcement to confiscate as evidence if
need be.

Please help me bring an end to these cruel and unnecessary crimes. It has affected my life, business, livelihood
and ability to live freely, not in fear.

Thank You,

Kimbeny B. Brown

Which of the following were used in this incident? (Check all that apply.)
M Spoofed Emaii
Similar Domain
Email Intrusion

 

 

htips://complaint ic3.gowdefault.aspx?#

 

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Case 1:19-cv-06434-GHW Document1 Filed 05/28/19 Page 22 of 25
6/14/2017 IC3 Complaint Referral Form

{ Other Please specify: Identity Fraud

Law enforcement or regulatory agencies may desire copies of pertinent documents or other evidence regarding
your complaint.

Onginals should be retained for use by law enforcement agencies,

 

 

 

 

Information About The Subject(s) Who Victimized You

 

—

 

Name: Tamera Yvonne Young
Business Name: Professional Athlete - Baskethall Player
Address: 2212 Knoxhill View
Address (continued):
Suite/Apt./Mail Stop:
City: Smyrna
Country: United States of America
State: Georgia
Zip Code/Route: 30082
Phone Number:
Email Address:

Website: https://www.google.com/un?
sa=t&rct=j&q=&esrc=s&source=web&cd=1&cad=nak&uact=8&ved
=OahUKEwi9nZupvL7U

IP Address:

 

 

 

 

 

Other Information

_

 

If an email was used in this incident, please provide a copy of the entire email including full email headers.

Yes, there were numerous email accounts which were hacked and used for cybercrimes:
1.destinyfulfilled2017@outlook.com

2.kbbrown80.kb@gmail.com

3.brown_kimbernlySO0@yahoo.com

4.kimberly_brown629@yahoo.com

Are there any other witnesses or victims to this incident?

Yes, there are multiple witnesses.

 

 

 

 

 

 

 

 

 

If you have reparted this incident to other law enforcement or goverment agencies, please provide the name,
phone number, email, date reported, report number, etc,
1. Winder Police Department - 25 E. Midland Avenue Winder, GA
2. Charlotte Mecklenburg Police Department - 601 East Trade Street Charlotte, NC 28202
3. Cobb County Police Department - 140 N, Marietta Pkwy, Marietta, GA 36060
5
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- ON
- Who Filed the Compiaint
w n
Were you the victim in the incident described above? Yes On
- Digital Signature

 

 

 

 

 

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Case 1:19-cv-06434-GHW Document1 Filed 05/28/19 Page 23 of 25
{C3 Complaint Referral Form

6/14/2017

By digitally signing this document, I affirm that the information I provided is true and accurate to the

best of my knowledge. I understand that providing false information could make me subject to fine,
imprisonment, or both. (Title 18, U.S. Code, Section 1001)

Digital Signature: Kimberly B. Brown

Thank you for submitting your complaint to the IC3, Please save or print a copy for your records. This is the only
time you will have to make a copy of your compiaint.

- #1

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Crs LUU tach Tidiclkdé aac WBGcuient ! Filed ‘05/28/19 Page 24 of 25)%"

HQ/Central Records 770 499-3900 140 N. Marietta Pkwy Marieuta, GA 30060-1454
Precinct 1 770499-4181 2380 Cobb Parkway N. Kennesaw, GA 30152-3632
Precinct 2 770 499-4182 . 46700 Austell Road Austell, GA 30106-2004

Precinct 3. 770 499-4183 1901 Cumberland Parkway Atlanta, GA 30339-4429
Precinct 4 770 499-4184 4400 Lower Roswell Road Marictta, GA 30068-4233
Precinct S 770 499-4185 4640 Dalias Highway Powder Springs, GA 30127-3905

Y Accident reports are generally available no sooner thon (3) three days after the accident.
Y Also, involved parties have the opportunity to obtain their accident reports via the web. Go to the link:

www cobbpalice.com .
Y Incident reports that involve juveniles of domestic violence can only be picked up from Cobb Police

Headquarters and no sooner than (S) days after the report date.
Y aAcopy of all other reports can be picked up at any Precinct by parties listed on the report. All others
including attorneys, insurance adjusters, and uninvolved parties must make their request from

Headquarters. Reports may be available by mail froma.

Date: OS20(7 Case ff [WOSO 352. Type: INC. net. PRIVATE PROP.

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: . . CHARLOTTE-MECKLENBURG =a

City of Winder POLICE DEPARTMENT

Police Department YW 601 East Trade Street * Charlotte, NC 28202 | %

: OFFICER P. BARKER: =

#5499: oe

Seth Roper E-mail: phillip.barker@cmpd.org ~- Cc

— Badge #:136 : ; o. Conta l C

‘ . Division tote 2

: - eol 101A 3 / 3 . ot Office #: : : be es ¥

Phone: 770-867-2156 Case # oallfar Comptaint #2? SS O02 (Ogres. * a

_ Fax: 770-868-8713 25.E. Midland Avenue 1. $e Got a tip?.Call Crime Stoppers @ 704334 1800 7 AS
‘ seth.roper@cityofwinder.com Winder, GA 30680 eee : ek Se le : ae ee

 
MARYLAND CRIMINAGaENIURTES COMPENSATION BOARD 28/1

 

* The Board manages a state fund to reimburse innocent
victims of crime for losses caused by crime.

I. Who mav he eligible to upply for compensation?

* Adult crime victims, or if under 18, parents or guardians
on their behalf. or,

* Dependents of homicide victims, or

* Person or persons who paid for the funeral expenses of
homicide victims, or

* Persons injured while preventing a crime or assisting a
police officer.

2. What is required?

¢ Report to law enforcement within 48 hours of the crime,
: . v . :
unless good cause is shown for delay in reporting.

* A completed and signed CICB claim sent to the Board
within 3 years of the crime.

* Physical injury, death or a psychological injury resulting
from a felony or delinquent act directly resulting from the
crime.

* Victims cannot have contributed to their injuries, or
initiated, consented to, provoked, or unreasonably

tailed to avoid a physical confrontation that led to the
victimization.

* The victim cannot have been participating in a crime or
delinquent act at the time the injury was inflicted.

* Victims must cooperate with the police or other law
enforcement agencies, prosecutors and the CICB staff.

* Although not required, you may have an attorney
represent you.

3. Eligibility criteria for an award - CICB is the fund of last
resort. All other available sources of compensation, such
as insurance, must he exhausted before CICB can make an

award Certain restrictions apply for each of these benefits:

Medical or dental — Up to $45.000. Claimants without private
insurance must apply for Medical Assistance.

Psychological counseling — Up to $5,000 for victim or $1,000
for a parent, child or spouse living with the victim.

Lost wages or disability - Up to $25,000 - To be eligible,
the claimant must lose time from work due to a criminal
victimization, or a parent or guardian caring for a child victim.

Funeral and/or burial — Up to $5,000 - Persons who assume

the responsibility for the funeral! or burial expenses may be
eligible ta apply. Claims may be reduced or denied if there is
an applicable life insurance policy over $25,000.

Dependency - Up to $25,000 for a parent, child or spouse
residing with the homicide victim who was dependent on
the victim for principal support. Also, specified victims who
resided with an abuser prior to the abuse, may claim loss of
support benefits during the time the abuser is incarcerated.

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Crime scene clean up — Maximum award up to $250 ~ The
claim must be related to a physical injury, fourth degree sexual
assault or felony psychological injury.

* Property loss is not eligible.

* Ifa claimant receives an award, then later obtains
insurance or other type of welfare benefits,
including restitution from the offender; the
claimant must repay that amount to the Board.

* Upon receipt ofan application, the claimant may
be contacted for additional information.

For further information and assistance in filing, call or write:

Maryland Criminal Injuries Compensation Board
Suite 206, Plaza Office Center
6776 Reisterstown Road
Baltimore, Maryland 21215-2340
Phone (410) 585-3010; FAX (410) 764-3815
Toll Free (888) 679-9347; TYY USERS (800) 735-2285

 

CICB Website:
http:/Avwow.dpses.state.nid.us/victimservs/ci

   

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Baltimore City Police Department 309 Form

BALTIMORE SCHOOL POLICE
Baltimore, Maryland

Victim Assistance/Incident Information Form

An Incident/Offense Report bas been prepared under the
complaint number indicated below. Please retain this form and
refer to the number when making inquiries or to report
additional information.

Complaint xo £90 Jobe do Date: ¢. ad . 17

Incident ‘Type: UH neass Movf / Sral Manse
Officer’s Name: Hat laf
Seq.No.:_____ Badge noob. ssxiemnen NM
Slo: 346+ dY¥th

if you have additional information to report on this
incident, please call the following number for report taking
services.

District/U nit: CTF Phone:

 

 

Telephone No.:

 

 

Baltimore City Non-Emergency Numbers

Police ‘nformation ......00000.ccceeeeeeneeeee (410) 396-2525
City Hall Switchboard .........c cece (410) 396-3100
Animal Control & Biles ..0.....0.00000..0 ee (410) 396-4694
Social Services Public Assistance .......... (443) 423-6400

 

 

Baltimore City Emergency Numbers

 

 

 

 

Please take @ moment to review the adduromnal informanon in this pamphlet

We welcome your involvement and participation

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